     Case 1:06-cr-00226-PB   Document 98   Filed 03/10/08   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 06-cr-226-02-PB

Robert McFadden, et al.



                               O R D E R

     The defendant, through counsel, has moved to continue the

April 1, 2008 trial in the above case, citing the need for

additional time as counsel will be engaged in a several week

trial which conflicts with the trial scheduled in this case.

The government and all co-defendants do not object to a

continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from April 1, 2008 to June 3, 2008.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:06-cr-00226-PB   Document 98   Filed 03/10/08   Page 2 of 2




      The March 27, 2008 final pretrial conference is continued to

May 21, 2008 at 4:15 p.m.

      No further continuances.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

March 10, 2008

cc:   David Bownes, Esq.
      Mark Irish, Esq.
      Robert Rabuck, Esq.
      Bjorn Lange, Esq.
      Richard Johnston, Esq.
      Dana Cole, Esq.
      Michael Iacopino, Esq.
      United States Probation
      United States Marshal




                                     2
